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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 21-14014-CV-MIDDLEBROOKS/MAYNARD

  DAVID POSCHMANN,

                 Plaintiff,
  v.

  STAR SUITES BY RIVERSIDE THEATRE, LLC

             Defendant.
  ______________________________________/

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         The parties stipulate and agree that this action is dismissed with prejudice pursuant to

  Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each side to bear his/its own fees and costs

  except as otherwise agreed.

         Dated: February 17, 2021

   s/Drew M. Levitt                                 s/Thomas W. Tierney
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